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                      UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                Research Triangle Park, NC 27711


                                                                                    OFFICE OF
                                                                            AIR QUALITY PLANNING AND
                                                                                   STANDARDS




                                          June 28, 2022




Mr. Jay Cornelius
Manager, Environmental Operations
ABC Coke
PO Box 10246
Birmingham, Alabama 35202
jcornelius@abccoke.com

Dear Mr. Cornelius:

       Pursuant to section 114 of the Clean Air Act (CAA), 42 U.S.C. §7414(a), the U.S.
Environmental Protection Agency (EPA) is collecting information related to hazardous air
pollutant (HAP) emissions at coke manufacturing facilities. The Drummond Company owns
and operates emission sources at the following coke manufacturing facilities that are required to
respond to the request for information listed in the table below.

          Information Response Requirements for the ABC Coke Facility
                                                         Enclosure 2 Testing
                                    Enclosure 1          Sources to be Tested
     Owner          City/State    Survey Sections:              Include:
Drummond Company Tarrant, AL        A, B, C, D, E     CBRP, Flares, Fugitives

        We are requesting information and data pertaining to these sources to update and expand
the information requested in 2016 to support the EPA’s residual risk and technology review being
conducted pursuant to CAA section 112(f)(2) and 112(d)(6) of the National Air Emission
Standards for Hazardous Air Pollutants (NESHAP) for Coke Ovens: Pushing, Quenching, and
Battery Stacks (subpart CCCCC) and the technology review being conducted pursuant to CAA
section 112(d)(6) of the NESHAP for Coke Oven Batteries (subpart L). The EPA is also requesting
data and related information both to inform the development of emissions standards for currently
unregulated HAP as required by recent judicial interpretation of the CAA (Louisiana
Environmental Action Network et al. v. EPA, 955 F.3d 1088 (D.C. Cir. 2020)) and to inform
potential revised or new emissions standards for co-located Coke Oven By-Product Recovery
(Chemical) Plants.


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       Attached to this request are nine enclosures. There are two general components: a
questionnaire component (Enclosure 1) and a testing and sampling component (Enclosure
2). These components are designed to collect information on emissions and other relevant
aspects of coke manufacturing operations. Enclosure 1 contains instructions for completing
and submitting the questionnaire component. Enclosure 2 contains instructions for the testing
and sampling component. Enclosures 3 through 9 provide supplemental information.

         We have created answer tables for the information requested in Enclosures 1 and 2.
Attached to this letter are the answer spreadsheets specific to each of the coke manufacturing
facilities operated by your company as applicable to this CAA section 114 information
request. From responses to EPA’s 2016 Coke Manufacturing CAA section 114 information
request, we have some information currently requested in Enclosure 1. Where available and
appropriate, we have pre-populated those previously-submitted data into an answer
spreadsheet and request that the previous data be reviewed for correctness. Any facility that
did not provide information in 2016 must provide all information requested in Enclosure 1,
as applicable to the facility and processes. We have not included answer files for test data
requested in Enclosure 2, as that must instead be submitted with the EPA’s Emissions
Reporting Tool. (ERT)

        Please note that emissions data provided under section 114 of the CAA are not entitled
to confidential treatment under 40 C.F.R. Part 2. 1 If there is any information related to facility
operations other than emissions data that you would like to claim as confidential business
information (CBI), please follow the instructions in Enclosures 1 and 5 to ensure appropriate
handling and submission of your response. You are required to return all Enclosure 1 associated
responses and documents within 65 days (9 weeks) after receipt of this request. See Enclosure 2
for deadlines associated with the submittal of all items related to testing. Also note that our
contractors or other authorized representatives discussed in Enclosure 6 must follow the policies
and procedures for handling trade secrets and CBI outlined in Enclosure 5, which ensure your
rights and protect any privileged information you submit for this request.

         Enclosure 7 provides guidance for developing a site-specific test plan. A site-specific test
plan addresses the planning and quality assurance quality control procedures and acceptance
criteria for all the testing, including the collection of process data. Please note that you must submit
a test plan to the EPA for approval prior to testing as requested in Enclosure 2. For the test methods
in Enclosure 2 that are to be reported via the ERT, a test plan must be entered into the ERT
program prior to submitting the test results. Enclosure 8 provides an example of the EPA ERT
test plan. Enclosure 9 provides a certification statement for your certifying official to sign, date,
and return with your submittal.




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    For additional information on emission data, please see 40 C.F.R. §2.301 and Enclosure 3.

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The table below summarizes the enclosures included with this request.


Enclosure #                                       Description
              CAA section 114 request for information for coke manufacturing -
      1
              questionnaire and submittal instructions
              CAA section 114 request for information for coke manufacturing - testing
      2
              procedures, methods, and reporting requirements
      3       EPA’s information gathering authority under section 114 of the CAA
              Disclosure of emissions data claimed as confidential under sections 110 and
      4
              114(c) of the CAA
              Summary of procedures for safeguarding CAA confidential business
      5
              information
              Designation of authorized representative for the EPA for NESHAP (CAA section
      6
              112)
      7       Site specific test plan development guidance
      8       Example ERT version 6 test plan
      9       Certification statement

       This CAA section 114 request for information is one step in an established public
process for collecting foundational information as part of our NESHAP reviews required by
the CAA. The public and stakeholders will continue to have opportunities to comment on
EPA’s Coke Manufacturing NESHAP rules, including a formal notice-and-comment period on
any proposed action. CAA section 114(a) authorizes the EPA Administrator to require the
submission of information, including information from an owner or operator of an emission
source for the purpose of developing or assisting in the development of NESHAP under CAA
section 112. This authority has been delegated to the Director of the Sector Policies and
Programs Division in the U.S. EPA Office of Air and Radiation, Office of Air Quality Planning
and Standards.

       Thank you for your assistance in this effort. Your response will provide comprehensive
information about the Coke Manufacturing source category, which will lead to a more effective
rulemaking. If you have questions regarding this questionnaire, please contact Dr. Donna Lee
Jones in EPA's Sector Policies and Programs Division at jones.donnalee@epa.gov.

                                              Sincerely,
                                              PENNY                Digitally signed by PENNY
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                                              LASSITER             Date: 2022.06.28 18:27:37
                                                                   -04'00'
                                              Penny Lassiter
                                              Director
                                              Sector Policies and Programs Division




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Enclosures (9)


cc:   Ron Gore
      Director
      Air Division, Alabama Department of Environmental Management

      Caroline Freeman
      Director
      Air and Radiation Division, U.S. EPA Region 4

      Mr. David Ailor
      President
      Coke Oven Environmental Task Force

      Mr. Chuck French
      Group Leader
      Metals and Inorganic Chemicals Group
      Office of Air Quality Planning & Standards
      U.S. EPA

      Dr. Donna Lee Jones
      Senior Technical Advisor
      Metals and Inorganic Chemicals Group
      Office of Air Quality Planning & Standards
      U.S. EPA




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